Case 3:12-cv-00683-DPJ-FKB Document1 Filed 10/02/12 Page1of5

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI

JACKSON DIVISION

DETRICK OLIVER PLAINTIFF

VS. CAUSE NO. 3, patie SIPIFAB
SOUTHERN ny I tsa ersec

OT a Bisco

HOLMES COUNTY, HOLMES COUNTY
SHERIFF DEPARTMENT, SHERIFF

WILLIE MARCH (individually and in his i | OCT ~2 2049
official capacity), DEPUTY SHERIFF
KENNY WILSON (individually and in his oy) ROBT eae

official capacity) AND JOHN DOES 1-5 “= sare ORPUT EFENDANTS

NOTICE OF REMOVAL

NOW COME Defendants, Holmes County, Mississippi, Holmes County Sheriffs
Department, Sheriff Willie March, individually and in his official capacity, and Deputy Sheriff
Kenny Wilson, individually and in his official capacity, by and through their undersigned
counsel of record, in the above-captioned litigation filed by Plaintiff, Detrick Oliver, which is
currently pending before the Circuit Court of Holmes County, Mississippi, bearing cause number
2012-0247, and file this, their Notice of Removal of the state court action to the United States
District Court for the Southern District of Mississippi, Jackson Division. In support thereof,
these Defendants would show the Court the following:

1) In support of this Notice of Removal, these Defendants assert jurisdiction
pursuant to 28 U.S.C. § 1331, federal question jurisdiction, as the basis for the United States
District Court’s original jurisdiction over this action, and removal is made pursuant to the
provisions of 28 U.S.C. § 1441, et seq.

2) Plaintiff's First Amended Complaint was filed in the Circuit Court of Holmes

County, Mississippi, bearing civil action number 2012-0247, on August 15, 2012. Pursuant to
Case 3:12-cv-00683-DPJ-FKB Document1 Filed 10/02/12 Page 2 of 5

L.U. Civ. R. 5(b)(1) & (2), the entire state court record is attached hereto as Exhibit A. The First
Amended Complaint names as defendants Holmes County, Mississippi, Holmes County Sheriffs
Department, Sheriff Willie March, individually and in his official capacity, and Deputy Sheriff
Kenny Wilson, individually and in his official capacity.

3) A copy of the summons and First Amended Complaint for Defendants, Holmes
County, Mississippi, Holmes County Sheriff's Department, Sheriff Willie March and Deputy
Kenny Wilson were served on September 18, 2012. Accordingly, this Notice of Removal is
being filed within thirty (30) days of receipt of a copy of the Plaintiffs First Amended
Complaint, which sets forth claims for relief upon which the state court proceeding is based as
per 28 U.S.C. § 1446.

4) According to 28 U.S.C. § 1441(a), the United States District Court for the
Southern District of Mississippi, Jackson Division, is the Federal District Court for the district
and division embracing the place where the subject state court suit is pending.

5) This Court has subject matter jurisdiction over the present action pursuant to 28
U.S.C. § 1331 and § 1441. The Plaintiff has made assertions of violations of rights arising under
the Constitution of the United States, which create a federal question as contemplated under 28
UIS.C. § 1331, specifically as follows:

a) Paragraph of the First Amended Complaint reads as follows:

This is also a Federal Civil Rights Action brought as a result of a violation
of inter alia, the federal, civil, constitutional, and human rights of the
Plaintiff. On or about August 7, 2011 (sic) law enforcement personnel
inflicted unnecessary bodily ham upon him through the use of excessive
unreasonable and unjustifiable force. The act of the Defendants in the use
of said force against the Plaintiff and others, enforced pursuant to official
policy, is so pervasive as to have the impact of custom and usage. As a
direct and proximate consequence the Plaintiff was physically assaulted,

sprayed with mace and arrested without jurisdiction. It is alleged that
certain Federal Statutes, to include 42 U.S.C. Sections 1983, 1985, and
Case 3:12-cv-00683-DPJ-FKB Document1 Filed 10/02/12 Page 3of5

b)

d)

6)

1986, together with certain rights under the Constitutions of the United

States of America and the State of Mississippi were violated. Therefore,

the Plaintiff files this action and prays for the result set forth in the
following paragraphs.

First Amended Complaint, § 2.

Paragraphs 26 through 33 of the First Amended Complaint are listed under the

general heading, “CLAIMS FOR RELIEF,” and under the sub-heading

‘Violation of Civil Rights Pursuant to Title 42 U.S.C. §1983 (General
Allegations). First Amended Complaint, { 26-33.
Paragraphs 34 through 39 of the First Amended Complaint are listed under the

general heading, “CLAIMS FOR RELIEF,” and under the sub-heading

“Violation of Civil Rights Pursuant to 42 U.S.C. §1983 (False Arrest). First
Amended Complaint, | 34-39.
Paragraphs 40 through 42 of the First Amended Complaint are listed under the

general heading, “CLAIMS FOR RELIEF,” and under the sub-heading

“Violation of Civil Rights Pursuant to Title 42 U.S.C. §1983 (Deprivation of
Property Without Due Process of Law). First Amended Complaint, § 40-42.
Paragraphs 43 through 46 of the First Amended Complaint are listed under the

general heading, “CLAIMS FOR RELIEF,” and under the sub-heading

“Violation of Civil Rights Pursuant to Title 42 U.S.C. §1983 (Failure to
Intervene). First Amended Complaint, { 43-46.

Pursuant to FED. R. Civ. P. 11, the undersigned counsel certifies that he has read

the foregoing Notice of Removal and that, to the best of his knowledge, information, and belief

formed after reasonable inquiry, it is well-grounded in fact and is warranted by existing law

and/or good faith argument for the extension, modification, or reversal of existing law, that it is
Case 3:12-cv-00683-DPJ-FKB Document1 Filed 10/02/12 Page 4of5

not interposed for any improper purpose, such as to harass or cause unnecessary delay or
needless increase in the cost of litigation.

7) Pursuant to 28 U.S.C. § 1446(d), the Defendants will give written notice of the
filing of this Notice of Removal to the Plaintiff, and a true and correct copy of this Notice will be
duly filed with the Circuit Court of Holmes County, Mississippi.

WHEREFORE, PREMISES CONSIDERED, Defendants, Holmes County,
Mississippi, Holmes County Sheriff's Department, Sheriff Willie March, individually and in his
official capacity, and Deputy Sheriff Kenny Wilson, individually and in his official capacity,
remove the above-entitled case from the state court to this Court.

RESPECTFULLY SUBMITTED, this 2" day of October, 2012.

HOLMES COUNTY, MISSISSIPPI, HOLMES
COUNTY SHERIFF’S DEPARTMENT,
SHERIFF WILLIE MARCH, INDIVIDUALLY
AND IN HIS OFFICIAL CAPACITY, AND

DEPUTY SHERIFF KENNY WILSON,
INDIVIDUALLY AND IN HIS OFFICIAL

BY: .

JASON E. DARE
OF COUNSEL: Cd

J. Lawson Hester (MSB No. 2394)
Ihester@wyattfirm.com

Jason E. Dare (MSB No. 100973)
jdare@wyattfirm.com

WYATT, TARRANT & COMBS, LLP
Post Office Box 16089

Jackson, Mississippi 39236-6089
Telephone: (601) 987-5300
Facsimile: (601) 987-5353

Case 3:12-cv-00683-DPJ-FKB Document1 Filed 10/02/12 Page5of5

CERTIFICATE OF SERVICE

I, JASON E. DARE, do hereby certify that I have this day mailed via US Mail, first class,
postage prepaid, a true and correct copy of the above and foregoing document to:

Dennis C. Sweet, III, Esq.
Dennis C. Sweet IV, Esq.
Thomas Bellinder, Esq.
Terris Harris, Esq.
SWEET & ASSOCIATES
158 E. Pascagoula St.
Jackson, Mississippi 39201

THIS, the 2" day of October, 2012.
CSS
JASON EF. DARE

